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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     Criminal No. 2:23-cr-20191-MSN
                                          )
                                          )
EMMITT MARTIN, et al.,                    )
                                          )
            Defendants.                   )
______________________________________________________________________________

                              MOTION TO SEAL
______________________________________________________________________________

       The United States moves to seal its Motion to Continue.     (ECF No. 840)      Local Rule 8.1

states that it is the policy of this District Court to allow any party to file a document under seal.

The Court can subsequently decide precisely how long a sealed filing will remain under seal.

       The parties in this case have filed various documents under seal.     Until the Court rules on

the government’s motion, the government – in an abundance of caution – seeks to file the motion

under seal.

                                                      Respectfully submitted,

                                                      JOSEPH C. MURPHY, JR.
                                                      Interim United States Attorney

                                              By: s/ David Pritchard
                                                      David N. Pritchard
                                                      Assistant United States Attorney
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cc:   Clerk of the Court (W.D. Tenn.)




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                                CERTIFICATE OF SERVICE

       I, David Pritchard, Assistant United States Attorney for the Western District of Tennessee,

hereby certify that the foregoing pleading was filed under seal by electronic means via the Court=s

electronic filing system, and a copy of the pleading was emailed to counsel for Defendants.


       This date: June 11, 2025.

                                                     /s/ David Pritchard
                                                     David Pritchard
                                                     Assistant United States Attorney




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